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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    :
UNITED STATES OF AMERICA            :
                                    :                     No. 22-cr-100-RBW
                                    :
v.                                  :
                                    :
JACOB L. ZERKLE,                    :
                                    :
            Defendant.              :
____________________________________:

    DEFENDANT’S OPPOSITION TO THE GOVERNMENT’S MOTION IN LIMINE

       The Government must simply be confused. Apparently, it believes that this case is one of

the pending nine hundred (900) cases where individuals are charged with offenses relating to the

breach of the United States Capitol or the obstruction of an official proceeding on January 6, 2021.

That is not this case. On January 6, 2021, Jacob Zerkle never went into the United States Capitol,

never attempted to go into the United States Capitol, and never wanted to go into the United States

Capitol. He is not charged with obstruction of any official proceeding, including the Electoral

College certification proceeding that took place on January 6, 2021. He was not arrested nor

detained on January 6, 2021 for any of his actions that day. He was not part of any organized group

reported to be responsible for aspects of what occurred that day. Rather, Mr. Zerkle is one of the

thousands of protestors who was present in Washington, D.C. on January 6, 2021, but who did not

participate in the breach of the United States Capitol.

       Yet, from the Government’s own motion in limine (and oppositions to the Defendant’s

motions in limine), 1 it appears that these facts make no difference to the Government. Consistent



1
 Pursuant to the Defendant’s pending unopposed motion for extension of time filed on January
30, 2023, the parties’ reply submissions to pretrial motions are due on or before March 17, 2023.
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with the concerns raised in the Defendant’s motion in limine (and reinforced by the Government’s

submissions), the Government plans to present evidence relating to the breach of the Capitol, the

Electoral College certification proceeding, the movement of Vice President Pence and his family,

and the Secret Service’s protection of them. None of this evidence makes a fact at issue in this case

more or less likely to have occurred (i.e., whether Mr. Zerkle forcibly assaulted, through resistance,

a law enforcement officer on Capitol grounds in a 29-second period of time, prior to both the

breach of the United States Capitol and the subsequent suspension of the joint session). Rather,

the Government intends to introduce this evidence before the jury to equate Mr. Zerkle with

individuals who breached the Capitol, paraded and demonstrated inside the building, conspired to

obstruct an official proceeding, and/or tried to impede the peaceful transition of government. Mr.

Zerkle’s conduct on January 6, 2021 does not fit this pattern.

       The Government’s justification for why it must be permitted to present this evidence is the

purported need to prevent the jury from receiving a “confused picture of why Zerkle and the victim

officers were on Capitol grounds that day[.]” See Gov’t Opp’n at 5 (D.E. 32). Despite

acknowledging that “a jury must find that [Mr. Zerkle] himself committed each offense with which

he is specifically charged,” id. at 6 (emphasis added), the Government wants this Court, and the

jury, to view his alleged crimes as part of a “mob’s collective action” or a “collective riot.” Id. It

should be clear to everyone, especially the Government, what was occurring on January 6, 2021.

While there were individuals whose “concerted efforts disrupted Congress,” see id., there were

also validly issued permits for protests and demonstrations on Capitol grounds that day, which Mr.

Zerkle will introduce into evidence at trial. The Government similarly invokes a purported need to




See D.E. 24 at 2. Mr. Zerkle looks forward to thoroughly responding to the claims raised by the
Government in its opposition submissions at that time.
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assist the jury to justify its desire to have a case agent, who is based in Arizona, narrate what

happened inside the United States Capitol on January 6, 2021, and what purportedly occurred

between Mr. Zerkle and Metropolitan Police Department (“MPD”) officers in a 29-second period

of time. As Mr. Zerkle explained in his motion in limine (D.E. 27), the case agent was not present

at or near the Capitol on January 6, 2021, and the MPD officers themselves can testify — based

on their purported personal knowledge — as to what occurred that day. 2

       As it concerns the Government’s limited motion in limine to exclude evidence (D.E. 25 at

1-7), Mr. Zerkle has no intention of discussing surveillance cameras inside the United States

Capitol or Secret Service protocols because such topics are completely irrelevant to the charges in

this case. For that same reason, Mr. Zerkle opposes the Government’s motion (id. at 7-8) to admit

certain documents, as the proffered materials only pertain to the events occurring inside the United

States Capitol, and thus should not be presented to the jury as evidence in this case. Moreover, the

Government’s request that the Court “take judicial notice of, and admit into evidence” the “statutes

and constitutional provisions that govern the certification of the Electoral College vote” is without

legal support. According to the Government, “the jury is entitled to an explanation” of such law

based on the “principle” that, “where a federal prosecution hinges on an interpretation or

application of state law, it is the district court’s function to explain the relevant state law to the



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  Even more concerning, the Government cannot bring itself to confirm whether or not it intends
to use video of Mr. Zerkle walking around the National Mall on January 6, 2021 and statements
made by individuals around him that day, which was only recently identified to the defense on
February 16, 2023, as purportedly evidence as to whether he committed an assault later that day.
Mr. Zerkle will address this purported evidence once the Government in fact confirms that it will
be seeking to admit this completely irrelevant and unjustly prejudicial information at trial. As for
the Government’s offhand remark that Mr. Zerkle “attacked” a group of officers (D.E. 32 at 2),
Mr. Zerkle will be filing additional motions seeking to exclude such argument or opinion evidence
as it is completely unsupported by the discovery produced to date and hopefully the Government
will have a witness or evidence at the parties’ May 5, 2023 motions hearing to support its claim
that Mr. Zerkle made contact with officers first on January 6, 2021.
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jury.” Id. (emphasis added) (citing United States v. Fazal-Ur-Raheman-Fazal, 355 F.3d 40, 49 (1st

Cir. 2004)). This “principle” is inapposite, as there is no state law at issue in the Government’s

prosecution of Mr. Zerkle. Moreover, the issue before the First Circuit in Fazal-Ur-Raheman-

Fazal was not whether the district court could take judicial notice of or admit into evidence

provisions of state law, but rather whether the district court erred in instructing the jury regarding

Massachusetts law on parental rights.

       Before a jury in the District of Columbia, the Government apparently wants to present

evidence that Mr. Zerkle is a Capitol rioter, insurrectionist, and coconspirator with right wing

extremists, despite not having charged him with any such conduct or offenses. The Government

cannot proceed in this manner and it should have known better in the first instance.

       For these reasons, Mr. Zerkle respectfully requests that the Court deny the Government’s

motion in limine to admit pretrial the proffered statutes and records.

Dated: March 3, 2023                           Respectfully submitted,

                                                   /s/ Christopher Macchiaroli
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